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                                                  HYDE & SWIGART, APC
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                                             8    Jake Tiffany
                                             9                        UNITED STATES DISTRICT COURT
                                                                    SOUTHERN DISTRICT OF CALIFORNIA
                                             10
                                             11   JAKE TIFFANY, Individually and          Case No.:    '18CV0732 MMA JMA
                                                  On Behalf of All Others Similarly
                                             12   Situated,
22 21 C AMINO D EL R IO S OUTH S UITE 10 1




                                             13                Plaintiff,
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                                                                                          COMPLAINT FOR DAMAGES AND
          S AN D IEGO , CA 92 10 8




                                             14                                           INJUNCTIVE RELIEF PURSUANT
                                             15                         v.                TO THE TELEPHONE CONSUMER
                                                                                          PROTECTION ACT, 47 U.S.C. § 227,
                                             16   AVENUE 81 D/B/A                         ET SEQ.
                                             17   LEADPAGES., a Delaware
                                                  Corporation,                            [JURY TRIAL DEMANDED]
                                             18
                                             19                Defendant.

                                             20
                                             21
                                                                                  INTRODUCTION
                                             22
                                                     1. Plaintiff Jake Tiffany (“Plaintiff”) brings this Complaint for damages,
                                             23
                                                        injunctive relief, and any other available legal or equitable remedies,
                                             24
                                                        resulting from the illegal actions of Avenue 81 d/b/a Leadpages (hereinafter
                                             25
                                                        “Defendant”) in negligently contacting Plaintiff on Plaintiff’s cellular
                                             26
                                                        telephone, in violation of the Telephone Consumer Protection Act, 47 U.S.C.
                                             27
                                                        § 227 et seq., (“TCPA”), thereby invading Plaintiff’s privacy. Plaintiff
                                             28

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                                             1          alleges as follows upon personal knowledge as to himself and his own acts
                                             2          and experiences, and, as to all other matters, upon information and belief,
                                             3          including investigation conducted by his attorneys.
                                             4       2. The TCPA was designed to prevent calls and text messages like the ones
                                             5          described within this complaint, and to protect the privacy of citizens like
                                             6          Plaintiff. “Voluminous consumer complaints about abuses of telephone
                                             7          technology – for example, computerized calls dispatched to private homes –
                                             8          prompted Congress to pass the TCPA.”
                                             9       3. In enacting the TCPA, Congress intended to give consumers a choice as to
                                             10         how creditors and telemarketers may call them, and made specific findings
                                             11         that “[t]echnologies that might allow consumers to avoid receiving such
                                             12         calls are not universally available, are costly, are unlikely to be enforced, or
22 21 C AMINO D EL R IO S OUTH S UITE 10 1




                                             13         place an inordinate burden on the consumer.” TCPA, Pub.L. No. 102–243, §
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                                             14         11. Toward this end, Congress found that:
                                             15                [b]anning such automated or prerecorded telephone calls
                                                               to the home, except when the receiving party consents to
                                             16                receiving the call or when such calls are necessary in an
                                                               emergency situation affecting the health and safety of the
                                             17                consumer, is the only effective means of protecting
                                                               telephone consumers from this nuisance and privacy
                                             18                invasion.
                                             19         Id. at § 12;
                                             20      4. Congress also specifically found that “the evidence presented to the
                                             21         Congress indicates that automated or prerecorded calls are a nuisance and an
                                             22         invasion of privacy, regardless of the type of call….” Id. at §§ 12-13.
                                             23      5. Further, the FCC has issued rulings and clarified that consumers are entitled
                                             24         to the same consent-based protections for text messages as they are for calls
                                             25         to wireless numbers. See Satterfield v. Simon & Schuster, Inc., 569 F.3d 946,
                                             26         952 (9th Cir. 2009) (The FCC has determined that a text message falls
                                             27         within the meaning of “to make any call” in 47 U.S.C. § 227(b)(1)(A));
                                             28         Toney v. Quality Res., Inc., 75 F. Supp. 3d 727, 734 (N.D. Ill. 2014)

                                                  CLASS ACTION COMPLAINT                                                    PAGE 2 OF 12
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                                             1          (Defendant bears the burden of showing that it obtained Plaintiff's prior
                                             2          express consent before sending her the text message).
                                             3
                                             4                                    JURISDICTION AND VENUE
                                             5       6. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331
                                             6          because this case arises out of violation of federal law 47 U.S.C. § 227(b).
                                             7       7. Venue is proper in the United States District Court for the Southern District
                                             8          of California pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
                                             9          Plaintiff resides in the City of San Diego, County of San Diego, State of
                                             10         California which is within this judicial district; (ii) the conduct complained
                                             11         of herein occurred within this judicial district; and, (iii) many of the acts and
                                             12         transactions giving rise to this action occurred in this district because
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                                             13         Defendant:
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                                             14               (a)    is authorized to conduct business in this district and has
                                             15                      intentionally availed itself of the laws and markets within this
                                             16                      district;
                                             17               (b)    does substantial business within this district;
                                             18               (c)    is subject to personal jurisdiction in this district because it has
                                             19                      availed itself of the laws and markets within this district; and,
                                             20               (d)    the harm to Plaintiff occurred within this district.
                                             21                                             PARTIES
                                             22      8. Plaintiff is, and at all times mentioned herein was, a citizen and resident of
                                             23         the City of San Diego, County of San Diego, State of California. Plaintiff is,
                                             24         and at all times mentioned herein was, a “person” as defined by 47 U.S.C. §
                                             25         153(39).
                                             26      9. Defendant is, and at all times mentioned herein was, a Delaware corporation
                                             27         with a principal place of business in Minnesota, and is a “person,” as defined
                                             28         by 47 U.S.C. § 153(39). Plaintiff alleges that at all times relevant herein

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                                             1          Defendant conducted business in the State of California and in the County of
                                             2          San Diego, and within this judicial district, placing unlawful calls to
                                             3          potential clients via an automatic dialing system.
                                             4                                   FACTUAL ALLEGATIONS
                                             5       10. Plaintiff incorporates by reference all of the above paragraphs of this
                                             6          Complaint as though fully stated herein.
                                             7       11. Defendant is a marketing company that generates a marketing campaign and
                                             8          marketing leads for a variety of companies.
                                             9       12. It provides a number of marketing tools for businesses to market their
                                             10         products and services.
                                             11      13. At no point did Plaintiff solicit Defendant’s services, nor did Plaintiff have
                                             12         any relationship with Defendant.
22 21 C AMINO D EL R IO S OUTH S UITE 10 1




                                             13      14. Defendant began placing autodialed marketing text messages to Plaintiff’s
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                                             14         cellular telephone number ending in 1296 via an automatic dialing system as
                                             15         defined in 47 U.S.C. § 227(a)(1).
                                             16      15. The marketing messages, impersonal in nature, advertised for other
                                             17         companies and provided a link to Defendant’s based website.
                                             18      16. On March 27, 2017, Plaintiff received text message from Defendant at
                                             19         phone number (678) 208-9081. The message read, “27600- CALIFORNIA
                                             20         Real Estate Agent Asset Assignment Order Ref #1032765- New Listings
                                             21         Invitation SPRING 2017- FAST REGISTER:”
                                             22      17. When Plaintiff followed the link attached in the message, and was directed
                                             23         to Defendant’s based website containing a number of advertisements:
                                             24
                                             25
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                                                  CLASS ACTION COMPLAINT                                                  PAGE 4 OF 12
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                                             14
                                                     18. Plaintiff had no relations with Defendant prior to receiving text message.
                                             15
                                                     19. Sometime later, on or about September 20, 2017, Plaintiff received another
                                             16
                                                        unsolicited impersonal text message sent from Defendant’s autodialer with a
                                             17
                                                        phone number (678) 208-9081. The message read, “27600- UBER crushed
                                             18
                                                        the Taxi Industry And EXPEDIA massacred Travel Agents.. Will ZILLOW
                                             19
                                                        do the same to US Real Estate Agents?:”
                                             20
                                                     20. On or about December 17, 2017, at about 8:24 am, Plaintiff received another
                                             21
                                                        unsolicited impersonal text message sent from Defendant’s autodialer with a
                                             22
                                                        phone number (678) 208-9081. The message read, “27600- Zillow + Trulia
                                             23
                                                        + Redfin To Become SAN DIEGO Real Estate Brokerages In 2018?
                                             24
                                                        AGENTS FIGHT BACK – CLICK HERE: [link follows].”
                                             25
                                                     21. Defendant initiated multiple telephonic communications to Plaintiff’s
                                             26
                                                        cellular telephone ending in “1296”. Plaintiff found these communications
                                             27
                                                        excessive, inconvenient, harassing, placed in complete disregard of
                                             28

                                                  CLASS ACTION COMPLAINT                                                  PAGE 5 OF 12
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                                             1          Plaintiff’s privacy and request to cease all of the autodialed communications
                                             2          with Plaintiff.
                                             3       22. These telephonic text messages constituted telephone solicitations, as
                                             4          defined by 47 U.S.C. § 227(a)(4).
                                             5       23. Defendant’s calls and text messages constituted “calls” that was not for
                                             6          emergency purposes, as defined by 47 U.S.C. § 227(b)(1)(A)(i).
                                             7       24. Defendant’s text messages were placed to a telephone number assigned to a
                                             8          cellular telephone service for which Plaintiff incurs a charge for incoming
                                             9          calls pursuant to 47 U.S.C. § 227(b)(1).
                                             10      25. Defendant did not have prior express consent nor written consent to send
                                             11         text messages to Plaintiff, as defined by 47 U.S.C. § 227(a)(4).
                                             12      26. Plaintiff believes that Defendant used an “automatic telephone dialing
22 21 C AMINO D EL R IO S OUTH S UITE 10 1




                                             13         system” (or “ATDS”), as defined by 47 U.S.C. § 227(a)(1) to repeatedly
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                                             14         send automated text messages and phone calls to Plaintiff’s cellular
                                             15         telephone number.
                                             16      27. This ATDS has the capacity to store or produce telephone numbers to be
                                             17         called, using a random or sequential number generator.
                                             18      28. These telephone communications by Defendant, or its agent, violated 47
                                             19         U.S.C. § 227(b)(1).
                                             20      29. Through this action, Plaintiff suffered an invasion of a legally protected
                                             21         interest in privacy, which is specifically addressed and protected by the
                                             22         TCPA.
                                             23      30. Plaintiff was personally affected because Plaintiff was frustrated and
                                             24         distressed that Defendant harassed Plaintiff with text messages using an
                                             25         ATDS.
                                             26      31. Defendant's autodialed text messages forced Plaintiff and class members to
                                             27         live without the utility of their cellular phones by forcing Plaintiff and class
                                             28         members to silence their cellular phones and/or block incoming numbers.

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                                             1       32. Through the aforementioned conduct, Defendant has violated 47 U.S.C. §
                                             2          227 et seq.
                                             3
                                             4                                CLASS ACTION ALLEGATIONS
                                             5       33. Plaintiff brings this action on behalf of himself and on behalf of all others
                                             6          similarly situated (“the Class”).
                                             7       34. Plaintiff represents, and is a member of the Class, consisting of:
                                             8                 All persons within the United States who received any
                                                               text messages from Defendant or their agent(s) and/or
                                             9
                                                               employee(s), not sent for emergency purposes, to said
                                             10                person’s cellular telephone made through the use of any
                                                               automatic telephone dialing system and/or with an
                                             11
                                                               artificial or prerecorded message within the four years
                                             12                prior to the filing of this Complaint.
22 21 C AMINO D EL R IO S OUTH S UITE 10 1




                                             13      35. Defendant and its employees or agents are excluded from the Class.
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                                             14         Plaintiff does not know the number of members in the Class, but believes the
                                             15         Class members number in the hundreds of thousands, if not more. Thus, this
                                             16         matter should be certified as a Class action to assist in the expeditious
                                             17         litigation of this matter.
                                             18      36. Plaintiff and members of the Class were harmed by the acts of Defendant in
                                             19         at least the following ways: Defendant, either directly or through its agents,
                                             20         illegally contacted Plaintiff and the Class members via their cellular
                                             21         telephones by using an ATDS, thereby causing Plaintiff and the Class
                                             22         members to incur certain cellular telephone charges or reduce cellular
                                             23         telephone time for which Plaintiff and the Class members previously paid,
                                             24         and invading the privacy of said Plaintiff and the Class members. Plaintiff
                                             25         and the Class members were damaged thereby.
                                             26      37. This suit seeks only damages and injunctive relief for recovery of economic
                                             27         injury on behalf of the Class, and it expressly is not intended to request any
                                             28         recovery for personal injury and claims related thereto. Plaintiff reserves the

                                                  CLASS ACTION COMPLAINT                                                      PAGE 7 OF 12
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                                             1          right to expand the Class definition to seek recovery on behalf of additional
                                             2          persons as warranted as facts are learned in further investigation and
                                             3          discovery.
                                             4       38. The joinder of the Class members is impractical and the disposition of their
                                             5          claims in the Class action will provide substantial benefits both to the parties
                                             6          and to the court. The Class can be identified through Defendant’s records or
                                             7          Defendant’s agents’ records.
                                             8       39. There is a well-defined community of interest in the questions of law and
                                             9          fact involved affecting the parties to be represented. The questions of law
                                             10         and fact to the Class predominate over questions which may affect
                                             11         individual Class members, including the following:
                                             12         a)    Whether, within the four years prior to the filing of this Complaint,
22 21 C AMINO D EL R IO S OUTH S UITE 10 1




                                             13               Defendant or its agents initiated any telephonic text messages to the
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                                             14               Class (other than a message made for emergency purposes or made
                                             15               with the prior written consent of the called party) to a Class member
                                             16               using any automatic dialing to any telephone number assigned to a
                                             17               cellular phone service;
                                             18         b)    Whether Defendant can meet its burden of showing it obtained prior
                                             19               express consent (i.e., consent that is clearly and unmistakably stated);
                                             20         c)    Whether Defendant’s conduct was knowing and/or willful;
                                             21         d)    Whether Plaintiff and the Class members were damaged thereby, and
                                             22               the extent of damages for such violation; and
                                             23         e)    Whether Defendant and its agents should be enjoined from engaging
                                             24               in such conduct in the future.
                                             25      40. As a person that received at least one telephonic communication from
                                             26         Defendant’s ATDS without prior written express consent, Plaintiff is
                                             27         asserting claims that are typical of the Class.       Plaintiff will fairly and
                                             28

                                                  CLASS ACTION COMPLAINT                                                   PAGE 8 OF 12
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                                             1          adequately represent and protect the interests of the Class in that Plaintiff
                                             2          has no interests antagonistic to any member of the Class.
                                             3       41. Plaintiff and the members of the Class have all suffered irreparable harm as
                                             4          a result of Defendant’s unlawful and wrongful conduct. Absent a class
                                             5          action, the Class will continue to face the potential for irreparable harm. In
                                             6          addition, these violations of law will be allowed to proceed without remedy
                                             7          and Defendant will likely continue such illegal conduct. Because of the size
                                             8          of the individual Class member’s claims, few, if any, Class members could
                                             9          afford to seek legal redress for the wrongs complained of herein.
                                             10      42. Plaintiff has retained counsel experienced in handling class action claims
                                             11         and claims involving violations of the Telephone Consumer Protection Act.
                                             12      43. A class action is a superior method for the fair and efficient adjudication of
22 21 C AMINO D EL R IO S OUTH S UITE 10 1




                                             13         this controversy. Class-wide damages are essential to induce Defendant to
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                                             14         comply with federal law. The interest of Class members in individually
                                             15         controlling the prosecution of separate claims against Defendant is small
                                             16         because the maximum statutory damages in an individual action for
                                             17         violation of privacy are minimal. Management of these claims is likely to
                                             18         present significantly fewer difficulties than those presented in many class
                                             19         claims.
                                             20      44. Defendant has acted on grounds generally applicable to the Class, thereby
                                             21         making appropriate final injunctive relief and corresponding declaratory
                                             22         relief with respect to the Class as a whole.
                                             23                                FIRST CAUSE OF ACTION
                                             24                           NEGLIGENT VIOLATIONS OF THE
                                             25                      TELEPHONE CONSUMER PROTECTION ACT
                                             26                                 47 U.S.C. § 227 ET SEQ.
                                             27      45. Plaintiff incorporates by reference all of the above paragraphs of this
                                             28         Complaint as though fully stated herein.

                                                  CLASS ACTION COMPLAINT                                                    PAGE 9 OF 12
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                                             1        46. The foregoing acts and omissions of Defendant constitutes numerous and
                                             2           multiple negligent violations of the TCPA, including but not limited to each
                                             3           and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
                                             4        47. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq,
                                             5           Plaintiff and the Class are entitled to an award of $500.00 in statutory
                                             6           damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
                                             7        48. Plaintiff and the Class are also entitled to and seek injunctive relief
                                             8           prohibiting such conduct in the future.
                                             9                                SECOND CAUSE OF ACTION
                                             10                    KNOWING AND/OR WILLFUL VIOLATIONS OF THE
                                             11                        TELEPHONE CONSUMER PROTECTION ACT
                                             12                                 47 U.S.C. § 227 ET SEQ.
22 21 C AMINO D EL R IO S OUTH S UITE 10 1




                                             13       49. Plaintiff incorporates by reference all of the above paragraphs of this
       H YDE & S WIG ART, APC

          S AN D IEGO , CA 92 10 8




                                             14          Complaint as though fully stated herein.
                                             15       50. The foregoing acts and omissions of Defendant constitutes numerous and
                                             16          multiple knowing and/or willful violations of the TCPA, including but not
                                             17          limited to each and every one of the above-cited provisions of 47 U.S.C. §
                                             18          227 et seq.
                                             19       51. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
                                             20          227 et seq, Plaintiff and the Class are entitled to an award of $1,500.00 in
                                             21          statutory damages, for each and every violation, pursuant to 47 U.S.C. §
                                             22          227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
                                             23       52. Plaintiff and the Class are also entitled to and seek injunctive relief
                                             24          prohibiting such conduct in the future.
                                             25                                  PRAYER FOR RELIEF
                                             26          WHEREFORE, Plaintiff and the Class Members pray for judgment as
                                             27    follows:
                                             28

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                                             4           • Certifying The Class as requested herein;
                                             5           • Appointing Plaintiff’s Counsel as Class Counsel in this matter;
                                             6           • Providing such further relief as may be just and proper.
                                             7     In addition, Plaintiff and The Class Members pray for further judgment as
                                             8     follows:
                                             9                   FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
                                             10                               THE TCPA, 47 U.S.C. § 227 ET SEQ.

                                             11          • As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
                                             12               Plaintiff seeks, for himself, and each Class member, $500.00 in statutory
22 21 C AMINO D EL R IO S OUTH S UITE 10 1




                                             13               damages, for each and every violation, pursuant to 47 U.S.C. §
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                                             14               227(b)(3)(B).
                                             15          • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
                                             16               conduct in the future.
                                             17          • Any other relief the Court may deem just and proper.
                                             18           SECOND CAUSE OF ACTION FOR KNOWING/WILLFUL VIOLATION OF
                                             19                               THE TCPA, 47 U.S.C. § 227 ET SEQ.

                                             20          • As a result of Defendant’s knowing and/or willful violations of 47 U.S.C.
                                             21               § 227(b)(1), Plaintiff seeks, for himself, and each Class member
                                             22               $1,500.00 in statutory damages, for each and every violation, pursuant to
                                             23               47 U.S.C. § 227(b)(3)(B).
                                             24          • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
                                             25               conduct in the future.
                                             26          • Any other relief the Court may deem just and proper.
                                             27    ///
                                             28    ///

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                                             3                                       TRIAL BY JURY
                                             4        53. Pursuant to the seventh amendment to the Constitution of the United States
                                             5           of America, Plaintiff is entitled to, and demands, a trial by jury.
                                             6
                                             7     Dated: April 16, 2018                              Respectfully submitted,
                                             8
                                                                                                      HYDE & SWIGART, APC
                                             9
                                                                                                       By: Yana Hart
                                             10
                                                                                                           YANA A. HART, ESQ.
                                             11    ADDITIONAL COUNSEL FOR PLAINTIFF:                       ATTORNEYS FOR PLAINTIFF
                                                   KAZEROUNI LAW GROUP, APC
                                             12
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